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AO 91 (Rev. [1/11)) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Northern District of Florida

United States of America )
V. )
MOISES RAMIREZ-PEREZ See ne:
)
)
a a )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of ____ August 26, 2021, _ in the county of Alachua in the
Northern __ Districtof Florida —_, the defendant(s) violated:
Code Section Offense Description
Title 8 U.S.C. 1326(a) \llegal Reentry by Removed Alien

This criminal complaint is based on these facts:

See attached affidavit of Immigration and Customs Enforcement Deportation Officer Abnel Valle, which is incorporated
herein by reference.

a Continued on the attached sheet.

1 Complainant's signature

Abnel Valle, ICE Deportation Officer

Printed name and title

Sworn to before me and signed in my presence.

Date: fy. 2, A632. ~ 2

udge 's sigi

i

  

City and state: Gainesville, Florida Gary R. Jones, Magistrate Judge

Printed name and title

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